Case 1:18-bk-14314        Doc 14    Filed 02/21/19 Entered 02/22/19 10:29:18            Desc Main
                                    Document     Page 1 of 2



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: February 21, 2019



________________________________________________________________




 WWR#040260160

                      IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 IN RE:                                        :
                                               :
 Harry C. Auel, Jr.                            :      Case No. 18-14314
                                               :
                                               :      Chapter 7
                                               :
          Debtor.                              :      Judge Beth A. Buchanan



     ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
        UNDER 11 U.S.C. § 362 AND FED. R. BANKR. P. 4001(a)(3) (DOC 12)

          This matter came before the Court on the motion of U.S. Bank Trust National Association,

 not in its individual capacity but solely as owner trustee for Loan Acquisition Trust 2017-RPL1,

 for an order granting relief from the automatic stays imposed pursuant to 11 U.S.C. §362 and Fed.
Case 1:18-bk-14314       Doc 14     Filed 02/21/19 Entered 02/22/19 10:29:18            Desc Main
                                    Document     Page 2 of 2


 R. Bankr. P 4001(a)(3), as to the real property located at 1742 Clough Pike, Batavia, OH 45103.

 The Court finds that the motion was properly served and no party filed a memorandum in

 opposition or other response.

          For good cause shown, it is therefore ORDERED that U.S. Bank Trust National

 Association, not in its individual capacity but solely as owner trustee for Loan Acquisition Trust

 2017-RPL1, is granted relief from the automatic stays imposed pursuant to 11 U.S.C. §362 and

 Fed. R. Bankr. P 4001(a)(3), as to the real property located at 1742 Clough Pike, Batavia, OH

 45103.

 Submitted by:


 /s/ Laura L. Peters
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 U.S. Bank Trust National Association,
 not in its individual capacity but solely as owner
 trustee for Loan Acquisition Trust 2017-RPL1

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 Default List
